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                              LIST OF EXHIBITS
   Exhibit 1      -     Summons and Complaint

   Exhibit 2      -     Marcellus Ball Deposition

   Exhibit 3      -     Donna McCord Deposition

   Exhibit 4      -     Ian Severy Deposition

   Exhibit 5      -     Jason Adams Deposition

   Exhibit 6      -     Marlon Wilson Deposition

   Exhibit 7      -     Donna McCord Garrity Interview

   Exhibit 8      -     Ian Severy Witness Interview

   Exhibit 9      -     Markala Moore Interview

   Exhibit 10     -     Marcellus Ball 2021 IA interview

   Exhibit 11     -     Jason Adams Garrity Interview

   Exhibit 12     -     Arrests 202.1 - DPD Manual

   Exhibit 13     -     Code of Conduct 102.3 - DPD Manual

   Exhibit 14     -     Department Rank Structure

   Exhibit 15     -     Supervision 101.10-1 - DPD Manual

   Exhibit 16     -     Gossiping 102.3-6.15 DPD Manual

   Exhibit 17     -     Sergeant Job Description- Job Application

   Exhibit 18     -     IA Investigation

   Exhibit 19     -     Drop Guidelines-Web
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   Exhibit 20     -     Balls Drop Form

   Exhibit 21     -     Plaintiff’s Answers to RFA

   Exhibit 22     -     Plaintiff’s Answers to Rogs

   Exhibit 23     -     Text Msg from Ball to Marlon Wilson

   Exhibit 24     -     US Bankruptcy Court Order_Sept 21

   Exhibit 25     -     CRTP Form

   Exhibit 26     -     Smith v City of Flint
